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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 COUNTY OF COOK,                                        )
                                                        )
                        Plaintiff,                      )
 v.                                                     )
                                                        )
                                                        )
 BANK OF AMERICA CORPORATION,                           )   CIVIL ACTION NO.: 1:14-cv-2280
 BANK OF AMERICA, N.A., COUNTRYWIDE                     )
 FINANCIAL CORPORATION,                                 )
 COUNTRYWIDE HOME LOANS, INC.,                          )
 COUNTRYWIDE BANK, FSB,                                 )
 COUNTRYWIDE WAREHOUSE LENDING,                         )
 LLC, BAC HOME LOANS SERVICING, LP,                     )
 MERRILL LYNCH & CO., INC., MERRILL                     )
 LYNCH MORTGAGE CAPITAL INC., AND                       )
 MERRILL LYNCH MORTGAGE LENDING,                        )
 INC.,                                                  )
                                                        )
                        Defendants.                     )
                                                        )


      NOTICE OF WITHDRAWAL OF PLAINTIFF’S RESPONSE TO DEFENDANTS’
                   NOTICE OF SUPPLEMENTAL AUTHORITY



        On December 29, 2021, Plaintiff County of Cook (“County” or “Plaintiff”), by and through

counsel, filed its Response to Defendants’ Notice of Supplemental Authority (Dkt. 661). Plaintiff

now files this Notice to inform the Court that is withdrawing its previously filed Plaintiff’s

Response to Defendants’ Notice of Supplemental Authority.



Dated: December 29, 2021                    Respectfully Submitted,


                                            KIMBERLY M. FOXX,
                                            STATE’S ATTORNEY FOR COOK COUNTY



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                                   Special Assistant State’s Attorneys




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this day I caused a true and correct copy of the foregoing NOTICE

OF WITHDRAWAL OF PLAINTIFF’S RESPONSE TO DEFENDANTS’ NOTICE OF

SUPPLEMENTAL AUTHORITY to be served upon counsel of record as of this date by electronic

filing with the Clerk of Court for the United States District Court of the Northern District of Illinois

by using the CM/ECF system.

       Dated: December 29, 2021                                        /s/ Kenneth A. Wexler
                                                                       Kenneth A. Wexler




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